                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER

UNITED STATES OF AMERICA                              )
                                                      )       Case No. 4:16-cr-11-TRM-SKL
                                                      )
v.                                                    )
                                                      )
BILLY GENE FUQUA                                      )


                               REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on September 28,

2016. At the hearings, defendant moved to withdraw his not guilty plea to Count One of the twelve-

count Indictment and entered a plea of guilty to the lesser included offense of the charge in Count

One, that is of conspiracy to distribute and possess with intent to distribute a mixture and substance

containing a detectable amount of methamphetamine (actual), a Schedule II controlled substance,

in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C) in exchange for the undertakings made

by the government in the written plea agreement. On the basis of the record made at the hearing,

I find the defendant is fully capable and competent to enter an informed plea; the plea is made

knowingly and with full understanding of each of the rights waived by defendant; the plea is made

voluntarily and free from any force, threats, or promises, apart from the promises in the plea

agreement; the defendant understands the nature of the charge and penalties provided by law; and

the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

One of the Indictment be granted, his plea of guilty to the lesser included offense of the charge in

Count One of the Indictment, that is of conspiracy to distribute and possess with intent to distribute

a mixture and substance containing a detectable amount of methamphetamine (actual), a Schedule




Case 4:16-cr-00011-TRM-SKL             Document 58 Filed 09/30/16            Page 1 of 2      PageID
                                             #: 130
II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C) be accepted,

the Court adjudicate defendant guilty of the lesser included offense of the charge in Count One of

the Indictment, that is of conspiracy to distribute and possess with intent to distribute a mixture and

substance containing a detectable amount of methamphetamine (actual), a Schedule II controlled

substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C), and a decision on whether

to accept the plea agreement be deferred until sentencing. I further RECOMMEND defendant

remain in custody until sentencing in this matter. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

judge.


                                               s/ fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE



                                      NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
of guilty in this matter. See 28 U.S.C. §636(b).




                                                  2


Case 4:16-cr-00011-TRM-SKL            Document 58 Filed 09/30/16              Page 2 of 2      PageID
                                            #: 131
